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AO 2458 (Mod. D/NJ 12/06) Sheet 1 -Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                     District of New Jersey


  UNITED STATES OF AMERICA

             V.
                                                                                  CASE NUMBER 2:22-CR-00722-JXN-1

 FRANCiSCO LANDEROS

            Defendant.


                                                                 JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On orAfter November 1,1987)


            The defendant, FRANCISCO LANDEROS, was represented by DANIEL JOSEPH HOLZAPFEL.

The defendant pleaded guilty to count 1 of the INFORMATION on 10/25/2022. Accordingly, the court has adjudicated that
the defendant is guilty of the following offense:

                                                                                                                    Count
 Title & Section                Nature of Offense                                                Date of Offense    Number

 21:841 (a)(1)                  POSSESSION WITH INTENT TO DISTRIBUTE FENTANYL 5/26/2021
 AND(b)(1)(C)

           As pronounced on April 20, 2023, the defendant is sentenced as provided in pages 2 through 5 of this judgment.
           The sentence is imposed pursuant to the Sentencing Reform Act of 1984,

           It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count 1, which
           shall be due immediately. Said special assessment shall be made payable to the Cierk, U.S. District Court.

           It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
           change of name, residence, or malting address untii ali fines, restitution, costs and special assessments imposed
           by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
           attorney of any material change in economic circumstances.

           Signed this 20 day of April. 2023.




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AO 245B (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


                                                                                            Judgment - Page 2 of 5
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                                                       IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
            term of 36 months.

            The Court recommends that the Bureau of Prisons designate a facility for service of this sentence as near as
            possible to the defendant's home address.

            The defendant will remain in custody pending service of sentence.




                                                           RETURN

           I have executed this Judgment as foilows:




           Defendant delivered on _ __ To
At _, with a certified copy of this Judgment.

                                                                                      United States Marshal

                                                                                By.
                                                                                      Deputy Marshal
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AO 245B (Mod, D/NJ 12/06} Sheet 3 - Supervised Release


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Defendant: FRANCISCO LANDEROS
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                                                         SUPERVISED RELEASE
            Upon release from imprisonment, you will be on supervised release for a term of 3 years.

            Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
            in the district to which you are released,

            While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
            unlawful use of a controlied substance and must comply with the mandatory and standard conditions that have
            been adopted by this court as set forth below,

            You must submit to one drug test within 15 days of commencement of supervised release and at least two tests
            thereafter as determined by the probation officer.

            You must cooperate in the coliection of DNA as directed by the probation officer

            If this judgment imposes a fine, special assessment, costs, or restitution obligation, It is a condition of supervised
            release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement
            of the term of supervised release.

            You must comply with the foiiowing special conditions:

                 11GRATSON AND CUSTOMS ENFORCEMENT " COMPLiANCE

           You must comply with instructions from immigration and Customs Enforcement to resoive any problems with your
           status in the United States. You must provide truthful information and abide by the ruies and regulations of
           Immigration and Customs Enforcement. You must seek proper documentation from U.S. immigration and Customs
           Enforcement authorizing you to work in the United States. If deported, you must not re-enter the United States
           without the written permission of the Secretary of United States Department of Homeiand Security. If you re-enter
           the United States, you must report in person to the nearest U.S. Probation Office within 48 hours.

            CONSENT TO SEARCH

           You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
           1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by
           a United States probation officer. Failure to submit to a search may be grounds for revocation of release. You must
           warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation
           officer may conduct a search under this condition only when reasonable suspicion exists that you have violated a
           condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
           conducted at a reasonable time and in a reasonable manner,
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 AO 245B (Mod. D/NJ 12/06) Sheet 3a - Supervised Rejease


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                                                  STANDARD CONDITIONS OF SUPERVISION

 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
 are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
 toois needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
 and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
    of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
    within a different time frame.

2) After initiafiy reporting to the probation office, you wiii receive instructions from the court or the probation officer about
    how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
    permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must iive at a place approved by the probation officer. If you plan to change where you live or anything about your
    living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
    the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must a!!ow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
    probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
     view.


7) You must work full time (at least 30 hours per week) at a lawful type of employment, un!ess the probation officer
    excuses you from doing so, if you do not have fulltime employment you must try to find full-time employment, unless
    the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
    (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
    circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
    has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
    the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
     anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
     person such as nunchakus or lasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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AO 245B (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


                                                                                                            Judgment - Page 5 of 5
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                                                  STANDARD CONDITIONS OF SUPERVISION

13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                          For Official Use Only -"" U.S. Probation Office

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

   These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them,

  You shail carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                    (Signed),
                                                                     Defendant                               Date




                                                          U.S. Probation Officer/Designated Witness Date
